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aq JUN 2 E2006 IN THE UNITED STATES DISTRICT COURT
MICHAEL W. DOBBINS FOR THE NORTHERN DISTRICT OF ILLINOIS

CLERK, U.S. DISTRICT COURT EASTERN DIVISION
Avery Dennison Corporation, )
)
Plaintiff, ) oe
, ) 06CV3390
Michael A ) JUDGE GRADY |
. Nai 5 : .
ichac aimo } MAG. JUDGE MASON 2
Defendant. yo vs .
)
)
COMPLAINT

Plaintiff Avery Dennison Corporation (“Avery Dennison”), by its attorneys, complains

against defendant Michael A. Naimo as follows.
THE PARTIES

1. Plaintiff Avery Dennison is a Delaware Corporation with its principal place of
busmess in Pasadena, California. Avery Dennison develops, manufacturcs and markets a wide
range Of label and related products for consumer and industrial markeis. One of those businesses
is known as Retail Information Services. Retail Information Services manufactures, sources and
sells a wide variely of tags, labels and packaging products to garment manufacturers and
retailers.

2. Defendant Michaet A. Naimo is a resident of Hinsdale, Illinois. Until December
12, 2005, Avery Dennison employed Naimo as Regional Sales Dircetor -- Central for the

Company’s Retail Information Services segment.
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JURISDICTION AND VENUE

3. There is subject matter jurisdiction pursuant to 28 U.S.C. § 1332(a). The Parties
are Of diverse citizenship. The amount in controversy exceeds $75,000.

4, A substantial part of the events giving rise to the claims alleged in this Complaint
occurred within the Northern District of Ilincis,

5. Defendant is subject to personal Jurisdiction in the Northern District of Illinois,
Venue in the Northern District of Illinois is proper pursuant to 28 U.S.C. § 1391 (a).

FACTS

6, Effective as of December 12, 2005, Avery Dennison and Naimo entered into a
Separation Agreement and General Release (“Separation Agreement,”) a true and correct copy of
is which attached to this Complaint as Exhibit ] and is incorporated herein by reference,

7. In the Separation Agreement, Avery Dennison agrecd to make substantial
payments to Naimo for the balance of 2005 and for an additional period of twenty-four months,

8. In return for these payments, Naimo agreed, among other things, not to: “...
reveal or disclose, sell, use, lecture upon, or publish any such Trade Secrets [as defined in the
Separation Agreement], or authorize anyone else to do so at any time subsequent to his/her
employment with Avery.” (Exhibit 1, Sec. 9.)

9, Avery Dennison has, over the years, developed trade secret and confidential
information through the investment of significant time, effort, and expense to establish and build
its customer relationships. Such information includes, but is not limited to, business plans and
Strategies, the identity of manufacturers that historically have satisfied customers, pricing
practices, profit margins, customer purchasing patterns, areas of certain customers” historical
satisfaction and dissatisfaction, and methods for becoming a certified supplicr of certain

customers, Avery Dennison has taken reasonable steps to protect the secrecy of its trade secret

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and confidential information, such as requiring employees to sign confidentiality agreements and
limiting access. The use or disclosure of such information, which is not generally available to
Avery Demnison’s competitors through legitimate means, would be harmful to Avery Dennison.

10. Naimo specifically acknowledged, in the Separation Agreement, that his
contractual obligation not io use or disclose Avery Dennison’s confidential and trade secret
information extended broadly, and included information concerning Avery Dennison’s
“operations, its future plans and its methods of doing business, including without limitation,
proprictary information concerning its products, product development, customers, research,
technology, financial circumstances, marketing, pricing, costs, compensation, and other matters.”
(Exhibit 1, Sec. 9.)

11. In Sections 6 and 7 of his Employment Agreement with RVL Packaging, Inc. (a
wholly owned subsidiary of) Avery Dennison (“Employment Agreement”), Naimo further
agreed not to compete with Avery Dennison for a period of twelve months afier his separation
from the Company, and not to use or disclose the Company’s confidential/trade secret
information. A truc and correct copy of the Employment Agreement is attached to this
Complaint as Exhibit 2 and is incorporated herein by reference.

12. Avery Dennison has made all required payments to Naimo, through June 14,
2006. Avery Dennison has otherwise fully complied with all its obligations under the Separation
Agreement and the Employment Agreement.

13. Avery Dennison recently learned that Naimo has breached his obligations under
the Separation Agreement and the Employment Agrecment by making sales calls to the very

accounts he had managed for Avery Dennison. In that process, he has and continues to
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wrongfully use, intentionally and/or inevitably, the trade secrets and confidential information of
Avery Dennison.

14. Upon information and belief, Naimo’s breach of the Separation Agreement and
the Employment Agreement, and his wrongful competition are made in conjunction with other
entities and/or individuals, the full scope of which is not yet known. Naimo himself stated that
he is competing with Avery Dennison, and the “varsity team” is back on the field. He has
refused, however, to provide more detailed information as to his activities. Avery Dennison has
obtained computer forensic evidence indicating wrongful accessing and copying of trade secrets
and confidential information. Avery Dennison expects to add parties and claims to this action.

COUNT I - DECLARATORY JUDGMENT

15, The allegations of Paragraphs 1 - 14 of this Complaint are restated and

incorporated into this Count I by reference.
16. The Separation Agreement docs not specify whether or not Avery Dennison is

obligated to continue making payments when Naimo is in breach of the Agreement.

17. Naimo continues to assert that he should be receiving payments.

18. Because Naimo has failed and refused to comply with his obligations under the
Separation Agreement, Avery Dennison should not be obligated to provide Naimo any further
payments under the Separation Agreement.

COUNT II - BREACH OF CONTRACT

19. The allegations of Paragraphs 1 - 18 of this Complaint are restated and
incorporated into this Count II by reference,
20, Effective as of December 12, 2005, Avery Dennison and Naimo entered into the

Separation Agreement.
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21, Avery Dennison has performed all its obligations under the Separation
Agreement.

22. Naimo has breached his obligations under the Separation Agreement by
intentionally and/or inevitably using and continuing to use Avery Dennison’s confidential and
trade secret information.

23. Avery Dennison has suffered damages due to Natmo’s breach,

COUNT II - ILLINOIS TRADE SECRETS ACT

24, The allegations of Paragraphs 1 - 23 of this Complaint are restated and
incorporated into this Count HI by reference.

25. Naimo obtained Avery Dennison’s “trade secrets” within the meaning of Section
2(d) of the Illinois Trade Secrets Act, 765 ILSC 1065/2(d).

26. In calling upon the accounts he served while working for Avery Dennison, Naimo
has been and inevitably will continue to use Avery Dennison’s trade secrets,

27.  Naimo has misappropriated and inevitably will misappropriate Avery Dennison’s
trades secrets within the meaning of Section 2(d) of the Illinois Trade Secrets Act, 765 ILSC
1065/2(b).

28. Avery Dennison has suffered damages duc to Naimo’s usc of its trade secrets.

29, Naimo was aware of the confidential nature of Avery Dennison’s trade secrets.
and of his duty not to use Avery Dennison’s trade secrets for his own benefit or for the benefit of
any other person or entity. Therefore, the misappropriating of Avery Dennison’s trade sccrets by
Naimo has been willful and malicious.

COUNT IV - BREACH OF CONTRACT - EMPLOYMENT AGREEMENT

30, The allegations of Paragraphs 1 - 29 of this Complaint are restated and

incorporated into this Count IV by reference. —
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3]. Qn or about June 1, 2003, Avery Dennison and Naimo entered into the
Employment Agreement,

32, Avery Dennison has performed all its obligations under the Employment
Agreement.

33. Naimo has breached his obligations under Section 7 of the Employment
Agreement, by competing during the twelve month period immediately after the termination of
his employment.

34, Naimo has breached his obligations under Section 6 of the Employment
Agreement, by using, intentionally and/or inevitably, Avery Dennison’s confidential and trade
secret information.

35. The scope of the noncompetition provisions of the Employment Agreement are
reasonable, and in the event that the Court deems any aspect of the noncompctition provisions of
the Employment Agreement to be overly broad, the Court should modify or “blue-pencil” these
provisions to the maximum scope deemed reasonable by the Court, pursuant to the parties’
request in Section 7(c) of the Employment Agreement.

36. The noncompetition provisions of the Employment Agreement are necessary to
protect Avery Dennison’s legitimate protectable interests in its confidential information and in its
near-permanent customer relationships.

37. In the Employment Agreement, Naimo acknowledged and agreed that a breach of
Section 6 or 7 “would cause irreparable damage to the Company.” (Exhibit 2, Sec. 9).

38. = Avery Dennison has additionally suffered damages due to Naimo’s breach.
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Retief Requested

WHEREFORE, Plaintiff respectfully requests that the Court grant the following relief:

A.

As to Count I:

Issue a Declaratory Judgment in favor of Avery Dennison, declaring that
Avery Dennison is not obligated lo make any further payments to Naimo
under the Separation Agreement.

As to Count LI:

ii.

Award damages against Naimo, including the amount of the payments
Naimo received to date under the Separation Agreement, plus additional
amounts to be proven at trial; and

Award preliminary and thereafter permanent injunctive reltef against
Naimo from soliciting or serving customers he served or managed during
his final year of employment with Avery Dennison, and from using or
disclosing Avery Dennison’s trade secret and confidential information.

As to Count III:

i.

ii.

iii.

Award damages against Naimo, in amounts to be proven at trial;

Award preliminary and thereafter permanent injunctive relief against
Naimo from soliciting or serving customers he served or managed during
his final year of employment with Avery Dennison, and from using or
disclosing Avery Dennison’s trade secret and confidential information;
and

Award exemplary damages and attorneys’ fees to Avery Dennison,
pursuant to Section 4(a) of the Illinois Trade Secrets Act, 765 ILCS
1065/4(a).

As to Count IV:

ii.

Award damages against Naimo, including the amount of the payments
Naimo received to date under the Separation Agreement, pius additional
amounts to be proven at trial; and ,

Award preliminary and thereafter permanent injunctive relief against
Naimo from soliciting or serving customers he served or managed during
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his fimal year of employment with Avery Dennison, and from using or
disclosing Avery Dennison’s trade secret and confidential information.

E. As to all Counts, award costs and such further relief as the Court deems just and

proper under the circumstances.

Ross B, Bricker

David K. Haase

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Dated: June 21, 2006

Respectfully submitted,

AVERY DENNISON CORPORATION,

One of Its Attorneys

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EXHIBIT 1

SEPARATION AGREEMENT AND GENERAL RELEASE

This Separation Agreement and General Release (“Agreement”) is made by and between
_ Michael Naimo (“Employee”) and Avery Dennison Corporation, a Delaware corporation
(“Avery”) effective this 12th day of December, 2005.

Employee is currently party to an Employment. Agreement with RVL Packaging, Inc.
(“RVL”). RVL is a wholly-owned subsidiary of Avery. RVL has.assigned to Avery, and Avery
has accepted from RVL, all of RVL’s rights and obligations under the Employment Agreement.
Employee and Avery agree to the following terms in full and final scttlement of all matters .
relating to or arising out of Employee’ s employment and separation from employment with -
Avery and/or RVL: .

l. Employee's employment with Avery shall end as of December 12, 2005.

2. ‘It is agreed that, for the promises made herein, Employee will receive the
foliowing consideration:

The applicable payments set forth in Section 5(c) of the Employment Agreement,
dated September 1, 2003, by and between RVL Packaging, inc. and Employee. You will be
eligible for benefit continuation under COBRA provided you pay 102% of the applicable
premiums. .

3. : Avery will deduct from ‘the payments made under Paragraph 2 the required tax.
withhoidings. /

4. Employee represents that he/she has carefully read and fully understands all the
provisions of this Agreement and has had an adequate opportunity to discuss all aspects of this
Agreement with an attorney of his/her own choosing. if desired.

5. Employee and his/her : successors, assipns, heirs and legal Tepresentatives, hereby
releases, acquits, and forever discharges:

_ Avery and its representatives, parent and subsidiary corporations (as the case may be),
_ predecessors, successors, affiliates, officers, agents, assigns, employees and attorneys, from any
and all claims, rights; expenses, debts, demands, costs, contracts, liabilities, obligations, actions,
_ and causes of action of every nature, known or unknown, whether in law or in equity, which .
he/she had, now has, or may have which are in any way connected with, or arise out of, any
cause whatsoever, from the beginning of time to the date of this Agreement; provided, however,
that such release shall not extend to (a) the rights created by this Agreement; and (b) Employee’s
rights to indemnification, if any, as an officer or employee of Avery pursuant to Avery’s
certificate of incorporation, bylaws .or applicable law (collectively, the matters to which this
release docs not extend, as set forth in clauses (a) and (b) being referred to herein as the
“Continuing Obligations”). .

‘Except for the Continuing Obligations, such release includes, but is not limited to, any
and all matters relating to Employee’s employment with Avery. Employee specifically releases

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Separation Agreement and General Release
Michael Naimo

and discharges, but not by way ‘of limitation, any obligation, claim, demand or cause of action

based on, or arising out of, any alleged wrongful termination, breach of employment contract,

- breach of implied covenant of good faith and fair dealing, workers’. compensation, defamation,

intentional or negligent, infliction of emotional distress, or discrimination based on race, national .
origin, Sex, religion, age or handicap.

. ‘Employee also specifically releases and discharges any and all claims, rights and/or
remedies under the Age Discrimination in Employment Act of 1967 as amended, the
Employment Retirement Income Security Act of 1974 as amended, and any other federal, state
or local statute or regulation which relates to his/her employment or-its termination.

_ Employee agrees to file no suit or other action alleging arly such claim, demand, or cause
of action. .

8. Employee agrees not to disclose, or "discuss with, any person (other than , hishher
spous¢, attorney and tax or other financial advisor) any of the terms and conditions of this
Agreement, except as may be required by law or regulation, and except as may be required -to
effectuate the terms of this Agreement. Disclosure of any term of this Agreement will constitute
4 material il breach of the Agreement.

9, Employee understands and agrees that in the course of employment with Avery,
he/she may have acquired confidential information and trade secrets concerning Avery’s
operations, its future plans and its methods of doing business, including, without limitation,
‘proprietary information about its products, product development, customers, research, .
technology, financial circumstances, marketing, pricing, costs, compensation and other matters
(hereinafter collectively “Trade Secrets”). Employee may not reveal or disclose, sell, use,
Jecture upon, or publish any such Trade Secrets, or authorize anyone else to do so at any time
subsequent to his/her employment with Avery. All Avery documents, files, lists atid other..
information of a business nature, whether in hard copy or machiné readable form, will be
returned to Avery by Employee forthwith, and any future use of same by Employee i is prohibited,

«10 This Agreement shall be governed by and interpreted and construed in accordance

_ with the laws of the State of Illinois. If any provision of this Agreement shall, for any reason, be
_adjudged by any court of competent jurisdiction to be invalid or. unenforceable, i in whole or in
part, such | judgment shall not affect, impair or invalidate the remainder of the Agreement.’

11. Neither the negotiation, undertaking or signing of this Separation Agreemerit and

. General Release constitutes or operates as an acknowledgement or admission that Avery, orany -
person acting on behalf of Avery, has violated or failed to comply with any provision of federal
or state constitution, statute, law, regulation, municipal ordinance or principle of common law,
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Separation Agreement and General Release
Michael Naimo

~12. ‘This Agreement is the only and complete agreement between Employee and
Avery on or in any way relating to the subject matter hereof, and supersedes all previous
agreements, including, without limitation, the Employment Agreement, except to the extent such
Employment Agreement (and the payment obligation set forth therein) is specifically referenced
in Section 2 of this Agreement, Notwithstanding the previous sentence, the following. sentence
in Section 5(c) shall be of no force or effect: “Any severance payments otherwise due to the
Executive under this Section 5(c) shall be reduced by the gross amount of compensation payable
_ to the Executive during the Severance Period for any work, employment or business activity
‘whatsoever, including self-employment or consulting.” No statements, promises or -
representations have been made by either party to the other and no consideration has been or is
offered, promised or expected other than that already received or described i in this Agreement.

13. The language of all parts of this Agreement shall in all | cases be construed asa
whole, according: to its fair meaning, and not strictly for or against either party, This Agreement:
May be executed 1 in counterparts, all of which taken together shall constitute one and the same
instrument.

14. . From the date Employee receives this Agreement, he/she has twenty-one (21)

. days to consider it. Should Employee decide'to sign the Agreement, he/she has seven (7) days

following the signing to revoke the Agreement, and‘the Agreement will not become effective and
enforceable until that seven (7) day period has expired. Should Employee either decide not to

sign this Apreement or should he/she sign it and elect io revoke it during the seven (7). day

period, then this Agreement shall be null and void. Employee understands his/her right to
consult with an attorney prior to signing this Agreement and has been advised by Avery to do s 50,,

_ IN WITNESS WHEREOF this Separation Agreement and General Release has been
executed by the parties:

Dated: (- (P—- JL

SGI

“Micheel Najgffo ’

, AVERY DENNISON Y CORPORATION

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EXHIBIT 2

EMPLOYMENT AGREEMENT

This EMPLOYMENT AGREEMENT ("Agreement") is entered into as of this 1st day of
September, 2003 (the “Effective Date"), by and between RVL. Packaging, Inc., a Califomia

corporation (the “Gompuny"), and Michael A. Naime (the "Executive”) (individually, a “Party”

and-ooltectively, the “Parties”).
RECITALS .
A. The Company wishes the Executive t serve as an employee of the Company in
the capacity and on the terms and conditions set forth in Mis Apreement, and the Executive is
willing to accept such employment on such terms and conditions. —

NOW, THEREFORE, in consideration of the mutual agreements, covenants and
promuses hertin contained, the Parties hereto agree ag follows:

1. Employment and Duties.

(a) During the Employment Period (as hereinafter defined), the Company
agrees. to employ the Executive upon the terms and conditions set forth in this Agreement, and
the Executive socepts such employment and agrees to serve the Company, as the Regional Sates
Director-—Ceatral of the Company. The Executive shall report to'the V.P., Sales, or such other
representative of the Company as the Company may designate from time t time (the “Company
Represenigtive™). In such capacity, the Executive shalt be responsible forthe sales function for
appareliretas] promotional and informational tickets, tags, and woven and printed labels
{eolectively, “Productg”) in Hlinois, indiana, lowa, Kansas, Missouri, North Dakow, South
Dakota, Nebraska, Minnesota, Wisconsin, Alabama (Saks), Kentucky (Fruit. of the Loom}, .
Michigan (Wolverine and Moijer), and Tennessee (Kellwood, Tractor Supply and Nashville) {the
“Tetritory”), inching, without limitation, managing the Company’s sales represeraatives in the
Verniory, and shall have such other powers and duties as may from time to time be established
by the Company Representative.

{(b) = The Executive shall (i) perform well and faithfully such duties as may be
assigned by the Company Representative, (ii) devote his full working time, attention and
energies to the business and affairs of the Company, and (iii) use his best.efforts to advance the
imerests of the Company, to improve the value of the Company and to grow the Company's
business on a global basis. oo

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i Yerm. The term of this Agreement shall expire on the earlier of (2) December 31,
2? or (ii) the date upon which a Termination Event (as described in Section 3} oceurs (the
“Employment Period“) Except as expressly provided in Section Sic) below, all of the
obligations of the Company under this Agreement shall terminate at the end of the Employment
Period. Notwithstanding the end of the Enrployment Period or termination of this Agreement for
any reason, the provisions of Sections 5, 6, 7, and & below shall survive in accordance with their
terms.

3 Compensation.

(a) Anndal Compensation, The Executive's annual compensation during she
Employment Period. shall be equal io (a2) One and Twenty-Five Hundredihs of One Percent
(1.25%) of the Company's “Net Sales" of Products: in the Territory for the first One Hundred
Million Dollars (5100,000,000) of Net Sales per fiscal year and:(b) One Percent (1.0%) of the
Companys Net Sales of Products in the Territory for Net Sales in excess of One Hundred
Million Dollars ($100,000,000) per fiscal year ithe “Annual Cormpensation
‘compensation. shall be paid monthly. “Net_Salys” shall mean Bross “sales, fess applicable
discounts, returns and allowances, in each case ss determined in accordance with generally
accepted accounting principles in the United Sites.

(b) Automobile Allowance. During the Employment Periad, the Executive
shall be entitled to an automobile allowance of Eight Hundred Dollars ($800) per month,
notwithstanding anything to the contrary which may be contained in any of the plans or
arrangements governing Benefits Plans (as defined in Section 4).

4 Benefits. From the Effective Date w the expiration of the Employment Period,
the Executive and his eligible dependents shall be entitled to participate in, and receive benefits
wader, anny health, disability, midival, iisurance or other employee welfare pian or arrangement

enstit Plan”) made generally available by the Company 10 its salaried employces
during the Employment Period, ‘except that the Exeeutive shall aot be eligible to participate in
any severance plan offered by the Company other than ‘the severance payments described in
Section 5(c},

$. Termination Events.

(a) Disability or Death. if the Executive becomes, in the good faith opinion
of the Company, unabie to discharge the essential functions of the Exesutive’s job on a full-time
basis, with or without reasonable accommodation, for a period of more than three (3) consecutive
months or for more than ninety (90) calendar days in the aggregate during any twelve month
penod because of physical or mental Tmpanment OF incapacity, whether by reason of accident,
sickness or otherwise: (“disabili ty"). then the Company may give Notice (as defined im Section 1)
below) to the Executive terminating his employment hereunder. The date such Notice of
disability is-given by the Company shall be a Termination Event. If the Executive dies priog to
the termination of his employment, the date of auch death shall be a Termination Event.

(b) ‘TFerosination for Cause. ff the Executive's: employment is terrninated
“for cause” (as defined. below), the Termination Event shall be on the date upon which the

Company gives 1 Nodes to. the Bxegutive of such termination (subject fo. the. cure right, if any,
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described in subsection (iv) below). As used herein, “for cause” shall mean (i) conviction of or
pica of guilty or nolo contendere to. a crune involving moral turpitude or a crite punishable by 3
term of imprisonment greater than six (6) months; (ii) any act of fraud, dishonesty, material
imisconduct, gross negligence or breach of fiduciary duty by the Executive; (iii) a breach by the
Executive of Sextions 6, 7 or 8 of this Agreement; or (iv) a failure by the Executive ta follow the
reasonable instructions of the Company Represeniative, given in good faith, in any material
respect {or repeated failures to follow such instructions im any respect) or other neglect of a
material nanire (or repeated neglect, even if not muterial in nature) by the Executive in the
performance of his duties, after being given Notice of such failure or neglect, subject to ari
opportunity to cure within ten (10) calendar days, if in the good faith opinion of the Company
such failure or neglect is capable of being cured (in which case the Termination Event shall not
take place. until the end of the cure period if the failure or neglect has not been cured within such
cure period).

ic) Termination Not for Cause. If the Executive's employment 18
terminated by the Company before the end of the Employment Period not “for cause” (.z., for
any reason other than as set forth in Sections 5a), 5(b) and 5(d)), the Termination Event shall be
‘on the date upon which the Company gives Notice to the Executive of such termination. ‘In such
event and only in such event, provided the Executive signs a waiver and release of all claims
against the Company in the form attached hereto ax Exhibit “A”, within twenty-one (21) days
after the Company presents such waiver end telease to the Executive, and the Executive does not
revoke that waiver ahd release within seven (7) days: after such execution, he shall receive
severance payments equal to the Annual Compensstion received by the Executive for the fiscal
year prior to the Termination Event (payable at such imervals as salaries are paid. generally to
salaried employees of the Company). for the period fotiowing such Termination Event uotil the
eattier of (1) December 31, 2007 or. (ii) the date of death of the Executive (the “S
Period”). Any severance payments otherwise due to the Executive under this Section 5{c) shall
be reduced by the gross arnount of compensation payable to the Executive during the Severance
Period for any work, employment or business activity whatsoever, including selemployment or
consulting. In the event that the Executive's employment is terminated as described under
Sechoas 3{a}, 3b) or 3(d), the Executive (or his heirs or representatives) shall oot be entitled to
any severance payments. .

{d4) Termination by the Executive. If the Executive umlateraily terminates

his employment with the Company prior to the end of the Employment Period, such Lermnmation
shall constitute.a Termination Byent,

6, Disclosure of Information, The Executive acknowledges. that the trade secrets,
private-or secret processes as they exist from time to time, and information concerning products,
developments, manufacturing techniques, new product plans, equipment, inventions, discoveries,
patent applications, ideas, designs, engineering drawings, sketches, renderings, other drawings,
manuiattoring and test data, computer programs, progress reports, materials, costs,
specifications processes, mnethods, research, procurement and sales activities and procedures,
peoasotion and pricing techniques and credit and financial data conceming customers of the
Company Group, as well as information relating to the management, operation or planning of the
Company Group (the “Proprieta ation”), are valuable, special and unique assets of the
Company Group, access to and koowledge of which are essential to the performance of the

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Exeoutive’s duties hereunder. In light of the highly competitive nature of the industries in which
the members of the Company Group conduct their respective businesses, the Executive agrees
that all Proprietary Information heretofore or in the furure obtained by the Executive as a result
of the Executive's association with the Company Group shall be considered confidential. in
recognition of this fact, the Executive agrees that he will Hot, during and after the Employment
Period, without the Company's prior written consent, of éxtept a8 reqatred by law, such law co be
confined by a ingal opinion, disclose any of such Proprictary Information to any person oF
tatty for shy reason or purpose whatsoever and he will noi make use of any Proprietary

with his obligations. under this. section) (the “Applicable Period"), directly or indirectly, own
(other than asa stockholder of 1e3s than one percent {

compete with goods or services produced or marketed by the Company Group's Retail
information Services business,

(c) In the event that the agreement in this Section 7 shall be determined by
any court of competent jurisdiction ta be unenforceable by reason of its extending for too great 4
period of tiene of over too great a geographical area or by reason of iis being 100 extensive in any
other respect, it shall be ivterpreted to extend only over the maximum period of time for which it

nay be enforceable, and/or over the maximum geographical arca as to which it may be

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enforceable and/or so the maximum extent in all other respects as to which it may be enforoeabie,
aii a5 determined by such court in such action.

8. Designs, Inventinns, Patents and Copyrights. Al) designs, inventions, rade
names, domain names, improvements, technical information, know-how and technology, and
suggestions created, invented, conceived or reduced to practice by the Executive while the
Executive is easployed by the Company Group (whether or not (a) during usual working hours,
(b) on or off the premises of the Company Group or (c) alone or with others} that are directly or

the Company, all spplications for patents, design patents or reissue of patents and specific
assignments of such applications, and all applications for registration of copyright, trademark or
service mark: with respect to such Intellectual Property, and all jnstraments of assignment or
iranafer necessary to vest title to-such Intellectual Propesty in the Company in the Untied States
and abroad. This provision. shall survive the termination of this Agreement for all Inteflectual
Property created during the Employment Period or during any period prior therete when the

Executive worked for-an affiliate of the Company Group,

. 9 Remedies. The Execurive acknowledges and agrees that his breach of Sections 6,
f aad & of this Agreement would. cause irreparable damage to. the Company and that the
Company would not have an adequate remedy at law. Therefore, the obligations of the
Executive under Sections 6, 7 and § of this Agreement, shall be enforceable by a decree of
specific performance issued by any court of competent jurisdiction, and appropriate injunctive

_ ¥elief may be applied for by the Company, without posting any bond or other security, and
granted in connection therewith. Such remedies shall, however, be cumulative and not exclusive
and shall be in addition to any other remedies which the Company may have under this
Agreement or otherwise,

10, Notices. All notices, requests, approvals, consents, demands, claints and other
communications. required or permitted to be given under this Agreement (individually and
collectively, "Notices" shall-be in writing and shall be served personally, or sent by a uational
overnight delivery or courier company, or by United States registered or cettified mail, postage
prepaid, Tetum receipi requested, and addressed as follows:

if to the Company, to:

RVL Packaging, Inc.

cio Avery Dexsison Corporation
130 North Orange Grove Houlevard
Pasadena, California 91103
Attention: General Counsel
Telecopier: (626) 304-2071

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If to the Executive, to:-

Michael A. Naimo
340 Forest Read
Hinsdale, IL 60521

Any such Notices shall be deemed delivered upon delivery or refusal to accept delivery
as indicated in writing by the Person attempting to make personal. service, on the U.S. Postal
Service return receipt, or by similar written advice from the overnight delivery company. Each
Party hereto shall make an ordinary, good faith effort to ensure:that it will accept or receive
Notices that are ‘given in accordance with this Section, and that any. Person to be given Notice
actually reovives such Notice. Any Party to whom Notices are.to be sent pursuant to this
Agreement tay fiom time to time chapge its address for fulute communication hereunder by
giving Notice in the manner prescribed herein to all other Parties hereto, provided that the
addintes change shall not be effective until five (5) Business Days after the Notice of change has
been given.

11. Binding Effect; Successors and Assigns. This Agreement shall inure to the
benefit of and shall be binding upon the heirs, executors, administrators, successors and legal
representatives of the Executive, and shall inure to the benefit of and be binding upon the
Company and its successors and assigns. Specifically, and without limitation, the Company may
assign or transfer diis Agresment to any affiliate, subsidiary, successor or purchaser (whether of
assets or stock), without causing any ‘“‘ermination” either of this Agreement or of Executive's
employment and Executive shall be fully bound to perform the obligations set forth herein
following such assignment or.transfer, Notwithstanding the foregoing, the obligations of the
Executive may not be delegated andthe Executive may not assign, transfer, ‘pledge, encumber,
hypothecate or otherwise dispose of this Agreement, or any of his Hghts or payments due
hereunder, and any such attempted delegation or disposition shall be null and void and without
effect.

. 42%.  Attorney’s Fees, Each Party in any litigation or arbitration involving the
Agreement shall bear its or their respective costs, expenses.and attomeys’ fees: provided,
however, that if the court or arbitrator(s) determines that there is one prevailing Party, then such
Party shall be entitled to receive its costs and expenses, including reasonable attorneys’ fees.

13. Governing Law. The validity, construction and interpretation of this Agreement
shall be governed by the substantive laws of the State of Wlinois without regard to conflict of
laws prinviples.

14. Submission to Jurisdiction; Consent to Service of Process. The Parties hereto
hereby irrevocably submit to the exclusive jurisdiction of any federal or state court located
within the State of Hiinois over any dispute arising out of or relating to this Agreement and each
Pany hereby itrevocably agrees that all claims in respect of such dispute or any suit, action, or
proceeding related thereto may be'heard. and determined in such courts. The Parties hereby
irrevocably waive, to the fullest extent permitted by applicable laws, any objection which they
may now-or hereafter have to the laying of venue of any such dispute brought in such court or
any defense of inconvenient forum for the maintenance of such dispute. Each of the Parties

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hereto agrees that.a judgment in any such dispure may be enforced in other jurisdictions by suit
on the judgment or in-any other manner provided by applicable laws. .

18. ‘Counterparts. This Agreement may be executed simultaneously i in two or more
counterparts, each one of which shall be deemed an original, but-all of which shall constitute one
and the same insirument,

46. Construction; Interpretation. Wherever possible, the lerms of this Agreement
shail be construed and interpreted so as io be effective and valid under applicable lav. If any
provision of this Agreement shall be deemed invalid or prohibited under applicable law, such
provisian shall be invalid or prohibited only to the extent of such invalidity or prohibnion. The
headings of the various sections are for convenience only and shall not comtrot or affect the
meaning or construction or Hmit the scope or intent of any of the provisions of this Agreement

YR Entire Agreement; Waiver. This Agreement contains the. entire agreement of
the Parties relating to the subject matter hereof, supersedes and replaves in its entirety any
existing employment agreement of the Executive artd : may not be waived, changed, modified,
extended or discharged orally ‘but only by agreement in writing signed by the Party against
whom enforcement of any such waiver, change, modification, extension or discharge is sought.
The waiver by wither Party (the “Noi ¢ Party’) of a breach of any provision of this

by th , reaching Party”) shall not operste or be construed as a
waiver by the Nonwaiving Paty of a b breach of any other provision of this Agreement or of ary
subsequent breach by the Breaching Party of the same provision or any other provision.

18. Deductions and Withbolding. The Executive agrees that the Company shalt
withhold from any and all payments required to be made to the Executive pursvant to this”
Agreement, all federal, state, local and/or other taxes which the Company determines are
required to ‘be withheld in accordance with applicable statutes and/or regulations from time to
time in effect.

9. No Conflict. The Executive represents and warrants that the execution, delivery

and performance of this Agreement by the Executive aoe eat and serecment, undertaking
or covenant to whick the Executive ts party or is otherwise bound

20, Effect. No provision of this Agreement shall be deemed to aiffoct or prohibit the
Company's right to transfer assets among, merge, or utdertake any other form of corporate
restructuring with respect to any of the entities within the Company Group,

#1. Confidentiality. Executive agrees not to disclose, or discuss with, any person
{other than his/her spouse, attomey and tax or other financial advisor) any of the terms and
conditions of this Agreement, except as may be required by law or regulation, and except as may
be required to effectuate the terms of this Agreement. Disclosure of any tenm of this Agreement
will constitute a material breach of the Agreement.

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IN WITNESS WHBREOF, the parties hereto have executed this Agreement as of the date
frat. above written,

RVLA PACKAGING, INC.

Michael A. Naimo

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FORM OF SEPARATION AGREEMENT AND GENERAL RELEASE

This Separation Agreement and General Release (“Agreement”) is made by and between
(“Employee’) and Avery Dennison Corporation, RVL
Packaging, fac. or another subsidiary of Avery Dennison Corporation (to the extent it is the
employer of Employee immediately prior to the execution of this Agreement; Avery Dennison
Corporation, RVL Packaging, Ihc. or such other subsidiary of Avery Dennison Corporation shail
be referred to herein in such capacity as “Avery”) effective this day of |

Employes and Avery agree to the following terms in full and final settlement of all
matters relating to or arising out.of Employee’s employment and separation from employment
with Avery: .

1.  Bmployee’s' employment with Avery. shall end thas ended) as of

2. It is agreed that, for the promises made herein, Employee will receive the
following consideration:

{a} The applicable payments set forth in Seotion 5(c) of the Employment
Agreement, dated May 1, 2003, by and between RVL Packaging, Inc. and Employee (the
‘Employment Agreement”),

3. Avery will deduct from the payments made under Paragraph 2 the required tax
withholdings,

4, This Agreement shali be rendered null and void in the event that Employee i is
offered: a transfer into.a. comparable position at another Avery facility, department or unit, or in
the event that Emgloyes. accepts a transfer into: another position (regardless of whether it is a
comparable position).at the game-or another Avery facility, department or unit, For purposes of
this paragraph 4, “‘comperable” shall mean within 50 miles of Employee's residence, with
reasonably similar benefits and other terms and conditions of'employment; provided Employee’s

compensation as set forth in Section 3(b) of the Employment Agreement is not reduced.

5. In the event Employee: accepis.an offer of reemployment with Avery curing the
severance period, such offer shall be conditioned upon Employee's repayment of all or part of
the severance benefits previously paid under the terns of this Agreement. For purposes of this
paragraph 5, “severance period” shall mean the period of time following termination of
employment, over which an amount equivalent to the iotal severance benefit doilar amount
would have been received by Employee as regular compensation of Employee had Employee
remained employed in Employee's current position at the time of termination.

6. Eniployee represents that he/she has carefully read and fully undesstands all the
provisions ofthis Agreement and has had an adequate opportunity lo discuss all aspects of this
Agresment with on. attorney of his/her own choosing, if desired.

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10, This Agreement shall be governed by and interpreted and construed in accordance
with the laws of the State of THinois. Hany provision of this Agreement shall, for any reasan, be
adjudged by any court of competent jurisdiction to be invalid or unenforceable, in whole or in
part, such judgment shall not affect, impair or invalidate the remainder of the Agreement.

‘Ak. Neither the negotiation, undertaking or signing of this Separation Agreement and
General Release constitutes or operates as an acknowledgement or admission that any party, or
any person acting oo behalf of any party, has violated or failed to comply with any provision of
federal or state constinvtioa, ytaume, law, regulation, municipal ordinance or principle of camman
jaw,

12, This Agreement is the only and complete agreement between Employee and
Avery on or in any way: relating tothe subject matter ‘heteot. No statements, promises or
representations have been made by either party to the other and:no consideration has been or is
offered, promised or expected other than that already received or described in this Agreement,
including ity anachment(s) [A (Benefits information] {and B Qob TitleiAge Report]

13. The language of all pans of this Agreement shall in all cases be construed a5 a
whole, according to its fair meaning, und not strictly for or against either party. This Agreement
may be executed in counterparts, all of which taken together shull constitute one and the Sara
instrument.

14. From the date Enrployee receives this Agreement, he/she has twenty-one {71}
days [forty-five (43) days. if the termination arises out of a group exit incentive or layoff
program] to consider it. Should Employee decide to sign the Agreement, he/she has seven (7}
Gays following the signing to revoke the Agreement, and the Agreement will nox become
effective and enforceable-until that seven (7) day period has expired. Should Employee either
decide not to sign this Agreement or should he/she sign it and elect to. revoke it during the seven
(7) day period, then this Agreement shall be null and void. Employee understands his/her right
io consult with an attorney prior to signing this Agreement and has been advised by Avery to do
sO :

IN WITNESS: WHEREOF this Separation. Agreement and General Release has deen

executed by the parties.

Dated:

By:

Tithe:

(Employee)

Ot “RY

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=“

AMENDMENT to EMPLOYMENT AGREEMENT

__ This AMENDMENT to EMPLOYMENT AGREEMENT (“Amendment”) is entered into
as of the |" day of September, 2003 (the “Effective Date"), by and bepveen RVL Packaging,
inc.; a Catifornia corporation (the "Compeny"), and Michael A. Naimo (the "Executive”)
(individually, a “Party” and collectively, the “Parties”). |

RECITALS
A. The Company and the Executive haye entered into the Employment Agreement,

dated as of September 1, 2003 (the “Emplovment Agreement”) and desire to amend it as set forth
in this Amendment. oe

NOW, THEREF ORE, in consideration of the mutual agreements, covenants and
promises herein contained, the Parties hereto agree as follows: .

he Section 3(a) of the Agreement shall be amended to read as follows:

Company shall pay to the Executive an amount equel to Twenty Thousand Eight Hundred Fifty
Daliars ($20,850) per semi-monthly pay period (the “Draw”). Al the end of each month during the
Employment Period, the Company shall pay to the Executive the difference berween the Annual
_ Compensation earned during that month and the total Draw payments made during such month,
provided that if such amount is 2 negative number, then the excess of thé monthly Draw over the |
Annual Compensation eared during the month shail be carried over to the next month and offset
against the Annual Compensation to be paid to the Executive in that month. Upon termination of the
Agreement, if the aggregate Annual Cempensation paid to the Executive durmy the term of the
Agreement is less than the aggregate Draw paid to the Executive during the term of the Agreement,
then the Executive shall pay such deficit to the Company upon termination. The Cormpany shall be
entitled, in its sole discretion, to offset all or part of such deficit against any payments due to the
Executive upon termination. “Net Sales” shall meen gross sales, less applicable discounts, renurns
and aflowences, in each case as determined in accordance with generally accepted accounting
principles in the United States, | 7

2. _ Ail other provisions of the Amendment shal! be remain in full force and effect.
3.0 This Amendment may be executed simultaneously in two or more counterparts,

each one of which shall be deemed an original, but all of which shall constitute ane and the sare
insuament. So .

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CADOCUME-iimikenLOCALS-HTempil.Lotus.Noter MikeN Derritigins Employment Agresnest Amendment 3-29-04 .dec

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IN WITNESS WHEREOF, the parties hereto have executed this Amendment as of the
date first above writen. .

RVL packacmig INC,

CDOS UME-l\mikent OCALS~I\TemptC, Lotus Notes MIKEN Ovin\Naime Employment Agreement Amendment 3-29-(ah det
